
The People of the State of New York, Respondent,
againstKeith Adams, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Alexander M. Tisch, J.), rendered December 17, 2014, convicting him, upon his plea of guilty, of obstructing governmental administration in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Alexander M. Tisch, J.), rendered December 17, 2014, affirmed.
Defendant's guilty plea was knowing, intelligent and voluntary (see People v Conceicao, 26 NY3d 375, 382 [2015]; People v Sougou, 26 NY3d 1052, 1054—1055 [2015]). At the plea proceeding defendant, among other things, waived prosecution by information and formal allocution, admitted his guilt, stated that he was pleading guilty freely and voluntarily, and that he understood he was giving up his rights to a trial by jury, to remain silent, to call witnesses and to confront the People's witnesses. Thus, the record as a whole establishes defendant's understanding and waiver of his constitutional rights (see Boykin v Alabama, 395 US 238 [1969]), and nothing in the allocution casts any doubt on the plea's voluntariness.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: January 16, 2018










